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 6                                UNITED STATES DISTRICT COURT

 7                                       DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                )
                                            )
 9                          Plaintiff,      )
                                            )
10            v.                            )       2:12-CR-037-GMN-(RJJ)
                                            )
11 JAMES LEE BROWN,                         )
                                            )
12                          Defendant.      )

13                                  FINAL ORDER OF FORFEITURE

14            On April 9, 2012, and May 3, 2012, the United States District Court for the District of Nevada

15 entered a Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); and Title 18,

16 United States Code, Section 924(d)(1) and Title 28, United States Code, Section 2461(c), based upon

17 the plea of guilty by defendant JAMES LEE BROWN to a criminal offense, forfeiting specific property

18 alleged in the Criminal Indictment and Plea Memorandum and shown by the United States to have the

19 requisite nexus to the offense to which defendant JAMES LEE BROWN pled guilty. Preliminary

20 Orders of Forfeiture, ECF Nos. 17 and 20; Plea Memorandum, ECF No. 16.

21            This Court finds the United States of America published the notice of the forfeiture in

22 accordance with the law via the official government internet forfeiture site, www.forfeiture.gov,

23 consecutively from May 12, 2012, through June 10, 2012, notifying all third parties of their right to

24 petition the Court.

25            This Court finds no petitions were filed herein by or on behalf of any person or entity and the

26 time for filing such petitions and claims has expired.
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 1            This Court finds no petitions are pending with regard to the assets named herein and the time

 2 for presenting such petitions has expired.

 3            THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

 4 title, and interest in the property hereinafter described is condemned, forfeited, and vested in the United

 5 States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P. 32.2(c)(2);Title

 6 18, United States Code, Section 924(d)(1) and Title 28, United States Code, Section 2461(c); and Title

 7 21, United States Code, Section 853(n)(7) and shall be disposed of according to law:

 8            a)     Norinco shotgun, serial number 0026538; and

 9            b)     any and all ammunition.

10            The Clerk is hereby directed to send copies of this Order to all counsel of record and three

11 certified copies to the United States Attorney’s Office.
                              17th               October
12            DATED this _________ day of _______________, 2012.

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                                                     UNITED STATES DISTRICT JUDGE
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                                                                   3 of 3 3




 1                                        PROOF OF SERVICE

 2           I, Ray Southwick, Forfeiture Support Associate Paralegal, certify that the following

 3 individuals were served with copies of the Final Order of Forfeiture on October 16, 2012, by the below

 4 identified method of service:

 5           Electronic Filing

 6           Raquel Lazo
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16

17
                                           /s/ Ray Southwick
18                                         Ray Southwick
                                           Forfeiture Support Associate Paralegal
19

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